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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                       CASE NO. 05-20893-CR-GRAHAM/O’SULLIVAN

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  ERIC GARDINER,

       Defendant.
  ____________________________/

  Petition of WELLUS CORP.,

       Petitioner.
  ____________________________/

                                            ORDER

         This matter is before the Court on Wellus Corp.’s Notice of Motion for an Award

  of Counsel Fees and Expenses (DE # 761, 5/29/07). The parties have consented to the

  entry of final judgment by the undersigned. See Notice of Consent to Disposition of

  Wellus Corp.’s Third Party Petition by a United States Magistrate Judge (DE # 696,

  1/24/07). This case was referred to United States Magistrate Judge John J. O’Sullivan

  pursuant to 28 U.S.C. § 636(c) (DE# 698, 1/29/07). Having carefully reviewed the

  applicable filings and law, it is

         ORDERED AND ADJUDGED that Wellus Corp.’s Notice of Motion for an Award

  of Counsel Fees and Expenses (DE # 761, 5/29/07) is DENIED. As more fully

  explained below, the Court finds that the Equal Access to Justice Act (“EAJA”) applies

  to this case and that Wellus Corp. (hereinafter “petitioner”) is not entitled to attorney’s

  fees and other expenses under the facts of the instant case.
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                                         BACKGROUND

         This is an ancillary criminal forfeiture proceeding arising from the prosecution of

  Eric Gardiner (hereinafter “defendant”) for drug related offenses (DE# 3, 12/2/05). On

  May 16, 2006, the defendant pled guilty to conspiracy to import cocaine and money

  laundering (DE # 563, 8/31/06). In his plea agreement, the defendant agreed to forfeit

  his interest in certain property including funds in Woori America Bank Account

  #427001417 up to $80,000.00, at Woori America Bank, New York, New York

  (hereinafter the “subject property”). See Plea Agreement (DE# 408 at ¶ 14, 5/18/06).

  The government sought a preliminary order of forfeiture over certain property, including

  the subject property, following the defendant’s guilty plea. See United States’ Motion for

  a Preliminary Order of Forfeiture (DE# 422, 5/24/06). On May 25, 2006, the Court

  entered a Preliminary Order of Forfeiture (DE# 428, 5/25/06) which forfeited, inter alia,

  the subject property as property constituting proceeds from criminal activity.

         The petitioner filed Wellus Corp.’s Petition (DE# 569, 9/6/06) (hereinafter

  “Petition”)1 to adjudicate the validity of its interest in the subject property. After an

  evidentiary hearing, the Court granted the Petition finding that “the petitioner [had

  shown] by a preponderance of the evidence that it was a bona fide purchaser for value

  reasonably without cause to believe that the property was subject to forfeiture under

  [21 U.S.C. §] 853(n)(6)(B).” See Order (DE# 750 at 11-12, 5/9/07) (internal quotation

  marks omitted).

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           The petitioner initially filed its petition on March 15, 2006 (DE # 280). The
  Court denied this petition as moot (DE # 692, 1/9/07) after the petitioner filed a second
  petition (DE# 569) on September 6, 2006.

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         On May 29, 2007, the petitioner filed the instant Notice of Motion for an Award of

  Counsel Fees and Expenses (DE# 761) and Petitioner’s Memorandum of Law in

  Support of an Application for an Award of Reasonable Attorney Fees and Other

  Litigation Expenses (DE# 762). The petitioner’s motion was supported by the

  Affirmation (DE# 765, 5/31/07) of the petitioner’s counsel. On June 11, 2007, the

  government filed Plaintiff United States’ Response in Opposition to Petitioner’s Motion

  for Award of Counsel Fees and Expenses (DE# 767). The petitioner did not file a reply.

                                     LEGAL ANALYSIS

  A.     CAFRA Does Not Apply to the Instant Case

         The petitioner seeks attorney’s fees and costs under the Civil Asset Forfeiture

  Reform Act (“CAFRA”), 28 U.S.C. § 2465. Where applicable, CAFRA provides for the

  recovery of attorney’s fees, other litigation costs, post-judgment interest and actual or

  imputed interest in cases involving currency, negotiation instruments or sale proceeds.

  See 28 U.S.C. § 2465(b)(1). The petitioner argues that “[c]ounsel fees are recoverable

  by a prevailing party in a drug-related forfeiture proceeding under 28 U.S.C. § 2465(b).”

  See Petitioner’s Memorandum of Law in Support of an Application for an Award of

  Reasonable Attorney Fees and Other Litigation Costs (DE# 762 at 1, 5/29/07). The

  petitioner relies on United States v. 4432 Master Cases of Cigarettes, 322 F.Supp. 2d

  1075 (D.C. Cal. 2004) for support. However, that case concerned a civil in rem

  forfeiture proceeding. Id. at 1077. The instant action is a criminal forfeiture proceeding.

         The government argues that CAFRA does not apply based on a plain reading of

  28 U.S.C. § 2465 (b) which provides for reasonable attorney’s fees “in any civil


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  proceeding to forfeit property.” See Plaintiff United States’ Response in Opposition to

  Petitioner’s Motion for Award of Counsel Fees and Expenses (DE# 767 at 6, 6/11/07)

  (emphasis in original). The Court agrees. A plain reading of subsection (b) makes it

  inapplicable to the instant case. Subsection (b) applies “in any civil proceeding to

  forfeit property under any provision of Federal law.” 28 U.S.C. § 2465(a)-(b) (emphasis

  added). Thus, the attorney’s fee provision in subsection (b) is applicable only in civil

  forfeiture proceedings. See Synagogue v. United States, 482 F.3d 1058, 1062 (9th Cir.

  2007) (noting that § 2465(b)(1) does not apply if the clamant’s property is subject to

  criminal forfeiture).

  B.     Petitioner’s Entitlement to Attorney’s Fees and Costs under the EAJA

         Although the petitioner does not request attorney’s fees and other expenses

  under the EAJA, the government in its response contends that the EAJA is the only

  statute that may provide attorney’s fees and other expenses in this matter. See Plaintiff

  United States’ Response in Opposition to Petitioner’s Motion for Award of Counsel

  Fees and Expenses (DE# 767 at 6, 6/11/07).

         For the petitioner to recover attorney’s fees under the EAJA, four elements must

  be met. First, the petitioner must be the prevailing party in a suit over which the court

  had jurisdiction. See Jean v. Nelson, 863 F.2d 759, 765 (11th Cir. 1988). Second, the

  government’s legal position cannot have been substantially justified. Id. Third, the

  petitioner’s attorney’s fee motion must be timely. Myers v. Sullivan, 916 F.2d 659, 666

  (11th Cir. 1990). Fourth, there can be no special circumstances that would render an

  award of fees unjust. Comm’r Immigration & Naturalization Service v. Jean, 496 U.S.


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  154, 158 (1990).

         The government does not dispute that the petitioner was the prevailing party and

  that there are no special circumstances that would render an award of fees unjust. See

  Plaintiff United States’ Response in Opposition to Petitioner’s Motion for Award of

  Counsel Fees and Expenses (DE# 767 at 7, 6/11/07). However, the petitioner is not

  entitled to attorney’s fees and other expenses under the EAJA because the

  government’s position was substantially justified. 28 U.S.C. § 2412(d)(1)(A).

         In defending against a petition for attorney’s fees and other expenses, the

  government bears the burden of showing that its position was substantially justified.

  Harmon v. United States through Farmer’s Home Admin., 101 F.3d 574, 578 (8th Cir.

  1996). In determining whether the government’s position was substantially justified, the

  Court must look to the government’s underlying action as well as to its position in the

  litigation. Perales v. Casillas, 950 F.2d 1066, 1073 (5th Cir. 1992). The Court’s inquiry

  must focus on whether the government’s position was “‘justified in substance or in the

  main’ – that is, justified to a degree that could satisfy a reasonable person.” Pierce v.

  Underwood, 487 U.S. 552, 565 (1988). Under this standard, the government is not

  required to establish that its position was based on a “substantial probability of

  prevailing.” Sec. Exch. Comm’n v. Fox, 855 F.2d 247, 252 (5th Cir. 1988)(quoting

  legislative history of the EAJA, H.R. Rep. No. 1418, 96th Cong., 2d Sess. 11, reprinted

  in 1980 U.S.S.C.A.N. 4948, 4989-90).

         A loss on the merits does not itself, render the government’s position not

  substantially justified. White v. United States, 740 F.2d 836, 839 (11th Cir. 1984).


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  Rather, the EAJA’s “substantially justified” inquiry is governed by a standard “that is

  separate and distinct from whatever legal standards governed the merits phase of the

  case.” Griffon v. United States Dep’t of Health and Human Servs., 832 F.2d 51, 52 (5th

  Cir. 1987) (quoting Federal Election Commission v. Rose, 806 F.2d 1081, 1087 (D.C.

  Cir. 1986)).

         Viewing the government’s position in this action, the Court finds that the

  government, though unsuccessful in this proceeding, was substantially justified in

  taking its position that the subject property was forfeitable. The undisputed testimony at

  the evidentiary hearing was that the DEA made several money (drug proceeds) pickups

  at the defendant’s request. The defendant provided undercover DEA agents with the

  petitioner’s Woori Bank account number and instructed the agents to transfer funds into

  the petitioner’s account. On December 21, 2004, the DEA, through an undercover bank

  account, wire transferred $80,000.00 into the petitioner’s Woori Bank account. The

  government took the position that the petitioner was willfully blind to the source of those

  funds. The government’s theory was supported by case law. See United States v.

  Medina Cuartes, 155 F.Supp. 2d 1338, 1343 (S.D. Fla. 2001). Although the Court

  ultimately determined that the petitioner was not willfully blind under the instant facts,

  the government’s legal position was substantially justified. Therefore, the undersigned

  concludes that the petitioner is not entitled to fees and other expenses under the EAJA.

                                        CONCLUSION

         The Court finds that CAFRA’s attorney’s fee provision does not apply to criminal

  forfeiture proceedings and that the petitioner has not established that it is entitled to


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  attorney’s fees and other expenses under the EAJA. Accordingly, the Notice of Motion

  for an Award of Counsel Fees and Expenses (DE # 761, 5/29/07) is denied.

          DONE AND ORDERED in Chambers at Miami, Florida this 27th day of August,

  2007.
                                         _________________________________
                                         JOHN J. O’SULLIVAN
                                         UNITED STATES MAGISTRATE JUDGE
  Copies provided to:
  U.S. District Judge Graham
  All counsel of record




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